         08-22511-rdd          Doc 153-1 Filed 09/05/17 Entered 09/05/17 10:32:08                                  Amended
                               Discharge Final Decree: Notice Recipients Pg 1 of 2
                                                      Notice Recipients
District/Off: 0208−7                      User: admin                              Date Created: 09/05/2017
Case: 08−22511−rdd                        Form ID: 155amend                        Total: 78


Recipients submitted to the BNC (Bankruptcy Noticing Center) without an address:
cr          America's Servicing Company
cr          HSBC MORTGAGE CORPORATION (USA)
unk         Clerk's Office U.S. Bankruptcy Court
cr          IndyMac Federal Bank, FSB
cr          Wells Fargo Bank, NA dba America's Servicing Company
cr          ONEWEST BANK, FSB
4526462     IndyMac Bank, F.S.B.
                                                                                                                       TOTAL: 7

Recipients of Notice of Electronic Filing:
tr          Mark S. Tulis         mtulis.trustee@gmail.com
aty         Amy E. Polowy            ecfnotices@grosspolowy.com
aty         Barbara Dunleavy            bdunleavy@rosicki.com
aty         Bruce D. Mael          b.mael@bhpp.com
aty         David Carlebach           david@carlebachlaw.com
aty         Linda Manfredi           lmanfredi@flwlaw.com
aty         Linh Tran         linh.tran@quantum3group.com
aty         Lisa Milas         lmilas@schillerknapp.com
aty         Lisa L. Wallace          lwallace@mwc−law.com
aty         Michael J. McCormick             BankruptcyECFMail@mccallaraymer.com
aty         Nazar Khodorovsky             nazar.khodorovsky@usdoj.gov
aty         Nicole C. Gazzo           ecfnotices@grosspolowy.com
aty         Peter Corey         pcorey@maccosternlaw.com
aty         Royston Mendonza             rm@myirsdefense.com
                                                                                                                     TOTAL: 14

Recipients submitted to the BNC (Bankruptcy Noticing Center):
db          Shlome Braun          65 reagan Road         Monsey, NY 10977
jdb         Rachel Braun         65 reagan Road          Monsey, NY 10977
ust         United States Trustee        Office of the United States Trustee      U.S. Federal Office Building        201 Varick
            Street, Room 1006          New York, NY 10014
cr          Chase Home Finance, LLC            C/O Rosicki Rosicki & Associates, P.C.         51 East Bethpage
            Road         Plainview, NY 11803
cr          Hardy Credit Co.         c/o Berkman Henoch Peterson & Peddy, PC            100 Garden City Plaza       Garden City,
            NY 11530
cr          America's Servicing Company           c/o McCalla, Raymer, et al.       Bankruptcy Department         1544 Old
            Alabama Road          Roswell, GA 30076
cr          Builder's Capital, LLC        90 Crystal Run Road         Middletown, NY 10940
cr          America's Wholesale Lender c/o Countrywide Home Loans, Inc.             7105 Corporate
            Drive        PTX−B−209           Plano, TX 75024
tee         Roundup Funding, LLC           MS 550          PO Box 91121         Seattle, WA 98111−9221
cr          Countrywide Home Loans, Inc. f/ka Countrywide Funding Corp. d/b/a America's Wholesale Lender               7105
            Corporate Drive         PTX−B−209           Plano, TX 75024
smg         N.Y. State Unemployment Insurance Fund            P.O. Box 551        Albany, NY 12201−551
smg         New York State Tax Commission             Bankruptcy/Special Procedures Section         P.O. Box 5300        Albany,
            NY 12205−0300
smg         United States Attorney's Office        Southern District of New York         Attention: Tax & Bankruptcy
            Unit        86 Chambers Street, Third Floor         New York, NY 10007
4583978     AmeriCredit Financial Services, INC.          as Assignee from Long Beach         Acceptance Corp.        PO Box
            183853         Arlington, TX 76096
4557378     America's Servicing Company           Bankruptcy Department          7495 New Horizon Way, Building
            4        Frederick, MD 21703
4547353     America's Servicing Company           c/o McCalla Raymer, LLC.          Bankruptcy Department         1544 Old
            Alabama Road          Roswell, Georgia 30076
4615749     America's Wholesale Lender c/o Countrywide Home Lo              7105 Corporate Drive, PTX−B−209           Plano, TX
            75024
4556936     American Express Bank FSB            c/o Becket and Lee LLP         POB 3001         Malvern PA 19355−0701
4539185     American Express Centurion Bank            c/o Becket and Lee LLP         POB 3001         Malvern PA
            19355−0701
4526557     American Express Travel Related Svcs Co           Inc Corp Card        c/o Becket and Lee LLP        POB
            3001        Malvern PA 19355−0701
4543308     Berkan, Henoch, Peterson & Peddy            100 Garden City Plaza       Garden City, NY 11530
4542499     Berkman Henoch Peterson & Peddy, PC              As Attorneys for Hardy Credit Co.        100 Garden City
            Plaza        Garden City, NY 11530
4635739     Berkman Henoch Peterson & Peddy, PC              As Attorneys for Hardy Credit Co.        100 Garden City
            Plaza        Garden City, NY 11530
4588805     Berkman, Henoch, Peterson & Peddy, P.C.            100 Garden City Plaza        Garden City, NY 11530
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                              Discharge Final Decree: Notice Recipients Pg 2 of 2
4637349     Builder's Capital, LLC        40 Golf Links Road         Middletown, New York 10940
4545004     CHASE BANK USA              C O WEINSTEIN AND RILEY, PS                 2001 WESTERN AVENUE, STE
            400        SEATTLE, WA 98121
5225397     Cedarcrest Fund LP         PO Box 830669           Arsenal Station       San Antonio, TX 78283
4546701     Chase Bank USA, NA           PO BOX 15145            Wilmington, DE 19850−5145
4682898     Chase Home Finance, LLC           3415 Vision Drive, DeptOH4−7162            Columbus, OH 43219
4532446     Chase Home Finance, LLC           C/O Rosicki Rosicki & Associates, P.C.         51 East Bethpage
            Road        Plainview, NY 11803
4532447     Chase Home Finance, LLC           C/O Rosicki Rosicki & Associates, P.C.         51 East Bethpage
            Road        Plainview, NY 11803
4575636     DelBello Donnellan Weingarten          Wise & Wiederkehr, LLP           One North Lexington Avenue        White
            Plains, NY 10601
4532444     Discover Bank/DFS Services LLC            PO Box 3025          New Albany, OH 43054−3025
4622013     Eschen, Frenkel & Weisman, LLP            20 West Main St.         Bay Shore, NY 11706
4630406     Eschen, Frenkel & Weisman, LLP            Attorney for: Peter Corey       20 West Main St.       Bay Shore, NY
            11706
4615643     FIA Card Services, N.A.         Attn: Mr. M−BK          1000 Samoset Drive         DE5−023−03−03         Newark,
            DE 19713
4556448     HSBC Bank USA, N.A.            PO Box 2103          Buffalo, NY 14240
4531114     HSBC Mortgage Corp. (USA)             Attn: Bankruptcy Dept.        2929 Walden Ave.         Depew, NY 14043
4590018     HSBC Mortgage Corporation (USA)              2929 Walden Avenue          Attn: Bankruptcy Department       Depew,
            NY 14043
4667634     HSBC Mortgage Corporation (USA)              2929 Walden Avenue          Depew, NY 14043
4539057     INTERNAL REVENUE SERVICE                   290 BROADWAY              NEW YORK, N.Y. 10007
4562936     JP Morgan Chase Bank, N.A.           National Payment Services         POB 24785         Columbus, OH 43224
4692794     Keybank National Association          POB 94968          Cleveland, OH 44101
4631299     Meziman Corp.         Isaac Tenenbaum           POB 258         Monsey, NY 10952−0258
4544220     NYS DEPT OF TAX AND FINANCE                    BANKRUPTCY SECTION                PO BOX 5300         ALBANY NY
            12205
4765735     Old Republic Equity Credit Services,Inc.         307 N. Michigan Ave., 15th Fl.       Chicago,IL 60601
4735976     ROUNDUP FUNDING, L.L.C.                MS 550         PO Box 91121          SEATTLE, WA 98111−9221
4735977     ROUNDUP FUNDING, L.L.C.                MS 550         PO Box 91121          SEATTLE, WA 98111−9221
4735978     ROUNDUP FUNDING, L.L.C.                MS 550         PO Box 91121          SEATTLE, WA 98111−9221
4533648     Rosicki, Rosicki & Associates, P.C.         51 East Bethpage Rd.        Plainview, NY 11803
4531344     Steven J. Baum, P.C.        220 Northpinte Pkwy., Ste. G         Amherst, NY 14228
4910556     T&A Concrete Inc.         c/o Mr. Andrew Vlietstra         P.O. Box 383        Unionville, New York 10988
4609410     Toyota Motor Credit Corporation          c/o Becket and Lee LLP         POB 3001        Malvern PA
            19355−0701
4726375     Verizon        c/o AFNI/Verizon East          POB 3037         Bloomington, IL 61702
4598014     WACHOVIA BANK, N.A.                PO BOX 13765           ROANOKE, VA 24037
4525999     WELLS FARGO BANK                BDD−BANKRUPTCY DEPARTMENT                       P.O. BOX 53476        PHOENIX, AZ
            85072
4614335     Wachovia Bank, National Assoc.          Bankruptcy Dept. VA 7359           POB 13765         Roanoke, VA
            24037
                                                                                                                 TOTAL: 57
